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 6

 7
 8
                        UNITED STATES BANKRUPTCY COURT
 9
                         EASTERN DISTRICT OF WASHINGTON
10
11       In re:                                     Case No. 18-03197

12       GIGA WATT, Inc., a Washington              The Honorable Frederick P. Corbit
         corporation,
13                                                  Chapter 11
         Debtor.
14

15       MARK D. WALDRON, in his                    Adv. Pro. No.
         capacity as the duly-appointed
16       Chapter 11 Trustee,                        VERIFIED COMPLAINT FOR
17                                                  AVOIDANCE AND RECOVERY OF
         vs.                                        FRAUDULENT TRANSFERS
                                                    AND/OR PREFERENTIAL
18
         DAVID M. CARLSON and JANE                  TRANSFERS; BREACH OF
19       DOE 1, individually and on behalf of       FIDUCIARY DUTY; TURNOVER;
         the marital estate, ENTERPRISE             AND INJUNCTIVE RELIEF; AND
20       FOCUS, INC., a Washington                  THE CHAPTER 11 TRUSTEE’S
         corporation, CLEVER CAPITAL,               OBJECTIONS TO CLAIMS OF
         LLC, a Washington limited liability        DAVID M. CARLSON (CLAIMS
21
         company, JEFFREY FIELD, ROB                NOS. 318 AND 319) AND OF
22       TAVIS, AND JANE DOES 2                     CLEVER CAPITAL LLC (CLAIM
         THROUGH 15                                 NO. 320)
23

24     Complaint for Avoidance and Recovery of
       Fraudulent Transfers and/or Preferential and/or, etc. - Page 1
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 1            Mark D. Waldron, in his capacity as the duly-appointed Trustee in the

 2     above-captioned case, hereby submits the following:

 3                            INTRODUCTORY STATEMENT1

 4           1.     This Complaint relates to one of the Debtor’s three sites: the TNT
 5     Facility.2

 6           2.     Three days before the Petition Date, Defendant Carlson – who was a

 7     “governor” of the Debtor at the time and thus a fiduciary – caused Defendant
 8     Turner, his subordinate, to sign over to Defendant Carlson’s wholly-owned

 9     affiliate, Defendant Clever Capital: the power contract between Giga Watt and the

10     Douglas County Public Utility District No. 1 for 3.3MW of power at rates that are
11     among the cheapest in the world; hundreds of computers that “mine” for

12     cryptocurrency and their accompanying power systems, and a security interest in

13     the Debtor’s assets located at the TNT Facility. The consideration recited is
14     approximately $86,000, which, if really paid or owed, is by any measure, below

15     the assets’ value by many multiples.

16           3.     That same day, November 16, 2019, Defendant Carlson caused the

17     Debtor to agree to pay to his company, Defendant Clever Capital, “rent” for

18     Buildings A, B and H on the Debtor’s TNT Facility. Upon information and belief,

19     Defendant Carlson also took possession of Building C and the office located at the

20     Debtor’s TNT Facility on or about this time.

21
       1
22       Unless otherwise defined herein, capitalized terms have the meanings ascribed to
       them in subsequent sections of this Verified Complaint.
23     2
         The other two sites are the Moses Lake Facility and the Pangborn site.
24     Complaint for Avoidance and Recovery of
       Fraudulent Transfers and/or Preferential and/or, etc. - Page 2
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 1           4.     On April 19, 2019, Defendant Carlson caused Defendant Clever

 2     Capital to file a claim seeking approximately $260,000 in “rent” and associated

 3     “landlord” costs for the TNT Facility. This claim is fraudulent. Defendant Clever

 4     Capital holds no interest of any kind in real property. Further, all leases with
 5     respect to the TNT Facility were expressly assigned to the Debtor pursuant to the

 6     Sale and Assignment Agreement.

 7           5.     Worse still, Defendant Carlson has recently caused Defendant Clever
 8     Capital to obstruct the Trustee’s effort to negotiate an agreement with the TNT

 9     Landlord and the DC PUD to re-open the TNT Facility as the Trustee successfully

10     did with the Moses Lake Facility. Defendant Clever Capital has claimed that the
11     “lease” (in which it holds no interest) has been rejected and his company,

12     Defendant Clever Capital, is now in control of the TNT Facility. Defendant

13     Carlson and Defendant Clever Capital’s conduct is causing ongoing and
14     substantial damage to the estate. It threatens to severely undermine the Trustee’s

15     to-date successful efforts to create and capture going concern value for the benefit

16     of creditors.

17           6.     As set forth in the Prayer for Relief set forth below, all of the assets

18     transferred to Defendant Clever Capital on the eve of bankruptcy are fraudulent

19     transfers and/or preferences that the Trustee seeks to avoid and recover for the

20     benefit of the estate.

21           7.     The Trustee seeks damages for breach of fiduciary duty by the

22     Defendant Carlson.

23

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 1           8.     The Trustee seeks turnover of all the assets transferred pursuant to the

 2     TNT Transfer and of the additional assets, including Building C and the office,

 3     which Defendant Carlson simply took without any written pretense. Under the

 4     circumstances, a constructive trust should be imposed upon the bundle of assets
 5     and rights transferred therein, including, without limitation, leasehold interests.

 6           9.     Finally, the Trustee seeks preliminary injunctive and a temporary

 7     restraining order to avoid irreparable injury by the Defendants’ fraudulent,
 8     obstreperous, and obstructionist conduct.

 9                                         THE PARTIES

10           10.    Giga Watt, Inc. was incorporated under the laws of Washington on
11     December 15, 2016 by Nikolai Evdokimov.

12           11.    Plaintiff is the duly-appointed Chapter 11 Trustee of the estate in this

13     case pursuant to that certain Order Approving Appointment of Chapter 11 Trustee,
14     dated January 23, 2018. Plaintiff is at times also referred to herein as the

15     “Trustee.”

16           12.    Defendant David M. Carlson (“Defendant Carlson”) is a resident of

17     the State of Washington. He is a shareholder of Defendant Enterprise Focus, Inc..

18     Upon information and belief, he is the sole member of Defendant Clever Capital

19     LLC. He and Jane Doe 1 are named herein individually and on behalf of the

20     marital estate.

21           13.    At all material times herein, Defendant Carlson acted in his capacity

22     as a fiduciary with a duty to the Debtor and its creditors. He was and/or is the

23     Chief Executive Officer of the Debtor. He is a shareholder. He is also a Governor

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 1     of the Debtor, which means that he was (i) a director of Giga Watt, (ii) the person

 2     under whose authority Giga Watt’s powers were exercised and/or (iii) the person

 3     under whose direction the activities and affairs of the Debtor were managed

 4     pursuant to the organic law and organic rules of the Debtor. As the Chief
 5     Executive Officer of Giga Watt, he assiduously promoted a large-scale

 6     unregistered securities offering that is accompanied by numerous indicia of fraud.

 7          14.    Defendant Enterprise Focus, Inc. (“Defendant Enterprise”) is a
 8     corporation that was formed under the laws of Washington on May 1, 2009. It was

 9     administrative dissolved in October 2018.

10          15.    Defendant Clever Capital LLC (“Defendant Clever Capital”) began as
11     CryptoMatrix Holdings, LLC, a limited liability company organized under the

12     laws of the state of Washington, on or about December 2, 2015. On January 30,

13     2018, CryptoMatrix Holdings, LLC changed its name to Clever Capital LLC
14     according to a filing with the Washington Secretary of State signed by Defendant

15     Carlson. Upon information and belief, Defendant Carlson wholly owns Defendant

16     Clever Capital.

17          16.    Upon information and believe Defendant, Jeffrey Field, is a

18     shareholder of Defendant Enterprise.

19          17.    Upon information and belief, Defendant, Rob Tavis, is a shareholder

20     of Defendant Enterprise.

21          18.    The true names of Jane Does 1 through 15 are unknown.

22

23

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 1                                      CHRONOLOGY

 2          19.    All of the statements and allegations in the preceding paragraphs are

 3     incorporated herein by reference as if set forth fully in. They are repeated in this

 4     section only to the extent necessary to be clear.
 5          20.    On January 1, 2017, Defendant Carlson, Defendant Enterprise,

 6     Defendant Field and Defendant Tavis, on the one hand, and Giga Watt, on the

 7     other hand, entered into that certain Bill of Sale and Assignment and Assumption
 8     Agreement (the “Sale and Assignment Agreement”). A copy of the Sale and

 9     Assignment Agreement is attached hereto as Exhibit A.

10          21.    Defendants Carlson and Enterprise conducted business under the
11     name “MegaBigPower.”

12          22.    Pursuant to the Sale and Assignment Agreement, Defendants Carlson,

13     Enterprise, Field and Tavis sold and assigned to Giga Watt all of their assets,
14     interests and good will in “MegaBigPower” for a purchase price of $3 million.

15          23.    On January 15, 2017, the Debtor, Defendant Carlson and Defendant

16     Enterprise signed an Addendum to the Sale and Assignment Agreement pursuant

17     to which the purchase price for MegaBigPower was reduced from $3 million to $1

18     million and the method of payment was changed from bitcoin to U.S. dollars. A

19     copy of the Addendum is attached hereto as Exhibit B.

20          24.      MegaBigPower ran two crypto-mining facilities. One was a smaller

21     version of what is now the Debtor’s facility at Moses Lake, Washington that the

22     Trustee has recently re-opened. The other, referred to herein as the TNT Facility,

23     is located in Wenatchee, Washington.

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 1          25.    The TNT Facility is made up of five buildings and related

 2     infrastructure and includes Buildings A, B, C, and H and an office.

 3          26.    With respect to the TNT Facility, the Sale and Assignment Agreement

 4     provides in paragraph 1 that:
 5                   [T]he Seller hereby sells, conveys, assigns, and transfers
                     to the Buyer the assets set forth on Schedule (the
 6                   “Purchased Assets”) free and clear of any and all liens
                     and encumbrances, and the Buyer hereby accepts the
 7                   sale, conveyance, assignment, and transfer of the
                     Purchased Assets and assumes the Buyer’s obligations
 8                   under the contracts listed on Schedule 1 (the “Assumed
                     Contracts”).
 9
       Exhibit A, Sale and Assignment Agreement, ¶ 1 (emphasis added).
10
            27.    Schedule 1 of the Sale and Assignment Agreement defines “Purchased
11
       Assets” to include the “Wenatchee and Moses Lake leases and facility
12
       infrastructure (Exhibit 1)” and “equipment of the Wenatchee unused power
13
       infrastructure (Exhibit 2).” Exh. A, Sale and Assignment Agreement, Schedule 1.
14
            28.    Exhibit 1 to the Sale and Assignment Agreement includes:
15
                     Wenatchee Leases & Facility Infrastructure:
16
                     H building 1.75MW
17                   A building Storage
                     B building 225kW
18                   C building 225kW
                     Eller St House/Office
19
       Exh. A, Sale and Assignment Agreement, Schedule 1, Exh. 1.
20
            29.    Exhibit 1 itemizes the Facility Infrastructure as including, “Deposits
21
       with Landlord for buildings A, D, C, and H” and other significant assets, such as
22
       “underground conduits/trenches,” “power pole,” “transformers,” “vaults,” and “
23

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 1     secondary power (1" conductors),” among other assets. Exh. A, Sale and

 2     Assignment Agreement, Schedule 1, Exh. 1.

 3          30.    Schedule 1, Exh.1 also states:

 4                    MBP Electrical Infrastructure generally consists of
                      tenant improvements to leasehold property. It represents
 5                    a long-term usable capital investment that is producing
                      income.
 6
       Exhibit A, Sale and Assignment Agreement, Schedule 1, Exh. 1.
 7
            31.    Exhibit 2 states:
 8
                      MBP [MegaBigPower] has some uninstalled power
 9                    infrastructure, ready for a project. This equipment is new
                      and never used.. . . ”
10
       Exhibit A, Sale and Assignment Agreement, Schedule 1, Exh. 2. The
11
       uninstalled power infrastructure is further described in Exhibit 2 as “a
12
       1MW system” consisting of four “480V 225kW dry type
13
       transformers,” two “480V mains breakers,” four “208V Load Centers
14
       (400A disconnects)” and twelve “400 Amp Breaker Panels
15
       w/breakers.”
16
            32.    Schedule 1 states that “Assumed Contracts” includes, “lease
17
       agreements for the Eller St house/office, building A, building B, building C,
18
       building H, . . . .” Exhibit A, Sale and Assignment Agreement, Schedule 1.
19
            33.    The Trustee is informed by the TNT Landlord, TNT Business
20
       Complex LLC, and therefore believes, that (i) Defendant Enterprise leased from
21
       the TNT Landlord, Buildings A and C of the TNT Facility, (ii) Defendant Carlson
22
       leased from the TNT Landlord, Buildings B and H of the TNT Facility, and (iii)
23

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 1     either Defendant Carlson and/or Defendant Enterprise leased from the TNT

 2     Landlord the office located on the TNT Facility (collectively, the “TNT Leases”).

 3          34.    The TNT Landlord consented to Giga Watt’s taking over of the TNT

 4     Facility on the understanding that Defendant Carlson would remain liable to them
 5     on the TNT Leases. Therefore, Defendant Carlson and Defendant Enterprise

 6     assigned their interests in the TNT Leases to Giga Watt by agreeing to remain

 7     liable to the TNT Landlord for Giga Watt’s failure to perform.
 8          35.    Consistent with the assignment, on July 11, 2017, Defendant

 9     Enterprise represented in its Annual Report to the Washington Secretary of State

10     under penalty of perjury that it held no leasehold interests. A copy of the
11     foregoing is attached hereto as Exhibit C.

12          36.    Less than six weeks later, Giga Watt began the following series of

13     payments to Carlson:
14
                      Date                   Bitcoin             Dollar Value
15                                                                at time of
                                                                   transfer
16
                  August 18, 2017                    270.3534    $1,151,164.78
17
                  August 21, 2017                      50.0000          $213,800
18
                  March 16, 2017                    117.92506    $1,013,447.97
19
                                                                 $2,378,412.75
20
            37.    This amount exceeds the $1 million purchase price set forth in the
21
       Addendum by $1,378,412.75.
22

23

24     Complaint for Avoidance and Recovery of
       Fraudulent Transfers and/or Preferential and/or, etc. - Page 9
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 1           38.     On April 30, 2018, Giga Watt signed a contract with the Douglas

 2      County Public Utility District No. 1 (the “DC PUD”) pursuant to which the DC

 3      PUD agreed to provide to the TNT Facility 3.3 MW of power. Defendant Carlson

 4      signed the contract on behalf of Giga Watt. On May 14, 2018, the DC PUD signed
 5      the power contract.

 6           39.     On October 18, 2018, Defendant Enterprise was administratively

 7      dissolved by the Washington Secretary of State.
 8           40.     On October 25, 2018, Giga Watt’s registered agent filed Giga Watt’s

 9      annual report with the Washington Secretary of State. That annual report, signed

10      under penalty of perjury, listed Defendant Carlson as a Governor and, therefore,
11      as a fiduciary. A copy of the foregoing document is attached hereto as Exhibit D.

12           41.     On November 16, 2018, Defendant Carlson, when he was a Governor

13      and shareholder of the Debtor, and thus a fiduciary, caused the Debtor to transfer
14      to Defendant Clever Capital, his wholly-owned company, the power contract with

15      the DC PUD for the TNT Facility along with hundreds of miners and other

16      equipment located at the TNT Facility. He also caused the Debtor to grant to

17      Defendant Clever Capital a security interest in the Debtor’s assets located at the

18      TNT Facility.

19           42.     Defendant Carlson and Defendant Clever Capital also falsely

20      purported to create a landlord-tenant relationship between Defendant Clever

21      Capital and the Debtor, pursuant to which the Debtor would pay three times what

22      it was paying for the TNT Leases, from approximately, $11,600 to approximately

23      $30,000. In exchange for this tripled rent, the Debtor would occupy fewer

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 1      buildings. The foregoing agreement, the “TNT Transfer,” is attached hereto as

 2      Exhibit E.

 3               43.   Upon information and belief, on or about the Petition Date, Defendant

 4      Carlson began occupying a portion of the TNT Facility without permission or
 5      right.

 6               44.   On December 21, 2018, six weeks after purporting to be the Debtor’s

 7      “landlord” at the TNT Facility, Defendant Clever Capital represented to the
 8      Washington Secretary of State in its Annual Report under penalty of perjury that it

 9      held no interest of any kind in any real estate, including leasehold interests. A

10      copy of the foregoing report is attached hereto as Exhibit F.
11               45.   On April 19, 2019, Defendant Clever Capital filed a proof of claim

12      (Claim No. 320) asserting the right to payment of $259,055.66 for “rent” and

13      other landlord related expenses at the TNT Facility even though (1) Defendant
14      Clever Capital has no real estate interests of any kind, according to the sworn

15      public record, and (2) the TNT Leases had already been assigned to the Debtor.

16               46.   On April 19, 2019, Defendant Carlson filed a proof of claim (Claim

17      No. 319) asserting the right to payment of $1,359,891.59, pursuant to the

18      Addendum, despite the fact that he has already received $2,378,412.75 from the

19      Debtor and the purchase price for the Debtor’s assets, including the Moses Lake

20      Facility and the TNT Facility, was $1 million.

21               47.   On April 19, 2019, Defendant Carlson filed a proof of Claim (Claim

22      No. 319) asserting the right to payment of $13,575.10 that he allegedly owes to a

23      third party as a guarantor of the Debtor but has not even paid.

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 1                                JURISDICTION AND VENUE

 2            48.    The Bankruptcy Court has jurisdiction over this Complaint pursuant

 3      to 28 U.S.C. § 1334. The statutory predicates for this Complaint are 11 U.S.C.

 4      §§ 105(a), 547, 548, 542(e), 544(a), 550(a) and Rule 65 of the Federal Rules of
 5      Civil Procedures, incorporated herein as modified, by Rules 7065 of the Federal

 6      Rules of Bankruptcy Procedure.

 7            49.    Venue is appropriate pursuant to 11 U.S.C. § 1408(2).
 8                                    PRAYER FOR RELIEF

 9                              FIRST CLAIM FOR RELIEF
10            Avoid and Recover Intentional Fraudulent Transfer – the TNT Transfer
                             11 U.S.C. §§ 548(a)(1)(A) and 550(a)
11                      (Against Defendants Clever Capital and Carlson)
              50.    Plaintiff incorporates herein by reference all preceding paragraphs
12

13      asserted herein as if set forth fully herein.

14            51.    The TNT Transfer was a transfer of an interest of the Debtor in

15      property.

16            52.    The TNT Transfer was an obligation incurred by the Debtor.

              53.    The TNT Transfer was made and the related obligations were incurred
17
        by the Debtor on or within two (2) years of the Petition Date.
18

19            54.    The TNT Transfer was made with the actual intent to hinder, delay, or

        defraud any entity to which the Debtor was or became indebted, on or after the
20
        date of the TNT Transfer.
21

22            55.    Before the transfer was made or obligation was incurred, the Debtor

        had been sued or threatened with suit.
23

24      Complaint for Avoidance and Recovery of
        Fraudulent Transfers and/or Preferential and/or, etc. - Page 12
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 1            56.    The transfer was of substantially all the Debtor’s assets at the TNT

 2      Facility.

 3            57.    Debtor’s former management has absconded.

 4            58.    At all times material herein, Defendant Carlson was and is an insider
 5      of the transferee, Defendant Clever Capital, and of the transferor, the Debtor.

 6            59.    At all times material herein, Defendant Carlson was and is a fiduciary

 7      of the Debtor.
 8            60.    The Debtor has removed or concealed assets. An estimated $200,000,

 9      possibly more, has been earned after the Petition Date and not accounted for.

10            61.    Defendant Carlson has attempted to conceal the true nature of the
11      TNT Transfer by falsely claiming that Defendant Clever Capital, which owns no

12      real estate of any kind, is the Debtor’s “landlord” at the TNT Facility.

13            62.    The value of the consideration received by the Debtor was not
14      reasonably equivalent to the value of the asset transferred or the amount of the

15      obligation incurred pursuant to the TNT Transfer. It purported to triple the

16      Debtor’s rent under the TNT Leases for few buildings than the Debtor leased

17      previously. This rent provision has already generated a claim by Defendant Clever

18      Capital (Claim No. 320) demanding the sum of $259,055.66. This purported

19      obligation standing alone far exceeds the approximately $86,000 in consideration

20      that is recited in the TNT Transfer agreement. The power contract, the miners and

21      their electrical systems are also worth far more than the $86,000 described in the

22      TNT Transfer agreement.

23

24      Complaint for Avoidance and Recovery of
        Fraudulent Transfers and/or Preferential and/or, etc. - Page 13
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 1            63.    The Debtor was insolvent or became insolvent shortly after the TNT

 2      Transfer was made and the obligations incurred.

 3            64.    The TNT Transfer occurred in the context of substantial debt arising

 4      from the unregistered securities offering that Defendant Carlson actively and
 5      vigorously promoted as Chief Executive Officer of the Debtor and from the

 6      Debtor’s unsuccessful and allegedly fraudulent business activities.

 7            65.    In addition, and not by way of limitation, upon information and belief
 8      the TNT Transfer was made in anticipation of a money judgment, settlement, civil

 9      penalty, equitable order, or criminal fine which the Debtor believed would be

10      incurred by a violation of the securities laws (as defined in section 3(a)(47) of the
11      Securities Exchange Act of 1934 (15 U.S.C. 78c(a)(47))), any State securities

12      laws, or any regulation or order issued under Federal securities laws or State

13      securities laws; or fraud, deceit, or manipulation in a fiduciary capacity or in
14      connection with the purchase or sale of any security registered under section 12 or

15      15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78l and 78o(d)) or under

16      section 6 of the Securities Act of 1933 (15 U.S.C. 77f).

17            66.    Defendant Clever Capital is the initial transferee of the TNT Transfer.

18            67.    Upon information and belief, Defendant Carlson is a person for whose

19      benefit the TNT Transfer was made and, as such, is an initial transferee.

20            68.    Upon information and belief, John Does 1 through 15 are the

21      immediate or mediate transferees of the TNT Transfer.

22            69.    Wherefore, the TNT Transfer should be avoided and recovered for the

23      benefit of the estate.

24      Complaint for Avoidance and Recovery of
        Fraudulent Transfers and/or Preferential and/or, etc. - Page 14
25
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 1                            SECOND CLAIM FOR RELIEF
             Avoid and Recover Constructive Fraudulent Transfer – the TNT Transfer
 2                             11 U.S.C. §§ 548(a)(1)(B), 550(a)
                        (Against Defendants Clever Capital and Carlson)
 3
              70.    Plaintiff incorporates herein by reference all preceding paragraphs
 4
        asserted herein as if set forth fully herein.
 5
              71.    The Debtor received less than a reasonably equivalent value in
 6
        exchange for the TNT Transfer.
 7
              72.    The Debtor was insolvent on the date that the TNT Transfer was made
 8
        and/or became insolvent as a result of the TNT Transfer.
 9
              73.    At the time of the TNT Transfer, the Debtor was engaged in business
10
        or a transaction, or was about to engage in business or a transaction, for which any
11
        property remaining with the Debtor was an unreasonably small capital.
12
              74.    The TNT Transfer was made within two (2) years of the Petition Date.
13
        Indeed, it was made three days before the Petition Date.
14
              75.    Defendant Clever Capital is the initial transferee of the TNT Transfer.
15
              76.    Upon information and belief, Defendant Carlson is the person for
16
        whose benefit the TNT Transfer was made and, as such, is an initial transferee.
17
              77.    Upon information and belief, John Does 1 through 15 are the
18
        immediate or mediate transferees of the TNT Transfer.
19
              78.    Wherefore, the TNT Transfer should be avoided and recovered for the
20
        benefit of the estate.
21

22

23

24      Complaint for Avoidance and Recovery of
        Fraudulent Transfers and/or Preferential and/or, etc. - Page 15
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 1                               THIRD CLAIM FOR RELIEF
                Avoid and Recover Intentional Fraudulent Transfer - the TNT Transfer
 2                      RCW 19.40.041(1)(A) and 11 U.S.C. §§ 544(a), 550
                             (Against Defendants Clever Capital and Carlson)
 3

 4              79.   Plaintiff incorporates herein by reference all preceding paragraphs
 5      asserted herein as if set forth fully herein.

 6              80.   The TNT Transfer occurred within four (4) years before the Petition

 7      Date.
 8              81.   At all times material herein, the Trustee has the rights and powers of a

 9      hypothetical lien creditor and hypothetical judgment creditor.

10              82.   The Debtor made the TNT Transfer with actual intent to hinder, delay
11      or defraud any creditor of the Debtor.

12              83.   Wherefore, the TNT Transfer should be avoided and recovered for the

13      benefit of the estate.
14                           FOURTH CLAIM FOR RELIEF
             Avoid and Recover Constructive Fraudulent Transfer- the TNT Transfer
15                    RCW 19.40.041(1)(B) and 11 U.S.C. §§ 544(a), 550
                        (Against Defendants Clever Capital and Carlson
16
                84.   Plaintiff incorporates herein by reference all preceding paragraphs
17
        asserted herein as if set forth fully herein.
18
                85.   The TNT Transfer occurred within four (4) years before the Petition
19
        Date.
20
                86.   The Debtor did not receive a reasonably equivalent value in exchange
21
        for the TNT Transfer.
22

23

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 1            87.    At the time of the TNT Transfer, the Debtor was engaged or was

 2      about to engage in a business or a transaction for which the remaining assets of

 3      the Debtor were unreasonably small in relation to the business or transaction.

 4            88.    Alternatively, at the time of the TNT Transfer, the Debtor intended to
 5      incur, or believed or reasonably should have believed that the Debtor would incur,

 6      debts beyond the debtor’s ability to pay as they became due.

 7            89.    Wherefore, the TNT Transfer should be avoided and recovered for the
 8      benefit of the estate.

 9                            FIFTH CLAIM FOR RELIEF
              Avoid and Recover Preference to Insider – the March 2018 Transfer
10                          11 U.S.C. §§ 547(b)(4)(B) and 550
11            90.    Plaintiff incorporates herein by reference all preceding paragraphs

12      asserted herein as if set forth fully herein.

13            91.    At all times material herein, Defendant Carlson was an insider of the
14      Debtor.

15            92.    On or about March 16, 2018, within a year of the Petition Date, the

16      Debtor paid to Defendant Carlson the sum of 117.92506 Bitcoin which on the

17      transfer date had a value of $1,013,447.97 (the “March 2018 Transfer”).

18            93.    The March 2018 Transfer was made for the benefit of Defendant

19      Carlson, who at the time of the March 2018 Transfer was a creditor of the Debtor.

20            94.    The March 2018 Transfer was on account of an antecedent debt: the

21      purchase price for the Moses Lake Facility and the TNT Facility pursuant to the

22      Agreement and the Addendum.

23            95.    The March 2018 Transfer was made while the Debtor was insolvent.

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 1            96.    The March 2018 Transfer was made between ninety days and one year

 2      before the Petition Date.

 3            97.    The March 2018 Transfer enabled Defendant Carlson to receiver more

 4      than he would receive if the case were a case under chapter 7 of the Bankruptcy
 5      Code, the March 2018 Transfer had not been made and Defendant Carlson

 6      received payment of the antecedent debt to the extent provided by the provisions

 7      of the Bankruptcy Code.
 8
                                    SIXTH CLAIM FOR RELIEF
 9
                                       Breach of Fiduciary Duty
10                                       (Defendant Carlson)
              98.    Plaintiff incorporates herein by reference all preceding paragraphs
11
        asserted herein as if set forth fully herein.
12
              99.    At all times material herein, Defendant Carlson was an officer,
13
        shareholder and/or Governor of the Debtor.
14
              100. At all times material herein, Defendant Carlson owed a fiduciary duty
15
        to the Debtor, its shareholders and its creditors.
16
              101. Defendant Carlson breached his fiduciary duty to creditors by causing
17
        the Debtor to make the TNT Transfer to Defendant Clever Capital, his wholly
18
        owned limited company.
19
              102. Wherefore, the Plaintiff seeks damages subject to proof.
20

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                                 SEVENTH CLAIM FOR RELIEF
 1
                                            Turnover
 2                                      11 U.C.S. § 542(e)
                         (Defendant Carlson and Defendant Clever Capital)
 3
              103.   Plaintiff incorporates herein by reference all preceding paragraphs
 4      asserted herein as if set forth fully herein.
 5
              104. Pursuant to the Sale and Assignment Agreement the TNT Leases were
 6
        assigned to Giga Watt.
 7            105. By occupying the TNT Facility, Defendant Carlson and Defendant
 8
        Clever Capital are exercising possession and control of property that the Trustee
 9      may use, sell, or lease under section 363 of this title.
10            106. In the alternative, the equity of the case compels the imposition of a
11
        constructive trust upon the TNT Transfer, Building C, the office, and the TNT
12      Leases. Defendant Carlson, a fiduciary of the Debtor, grabbed the TNT Facility
13      for himself three days before the Petition Date and invented a lie that his affiliate
14
        was the Debtor’s landlord at the TNT Facility. Then he filed a proof of claim to
15      recover “rent” as this phantom landlord and another proof of claim to receive
16
        another $1 million plus interest towards the purchase price of the TNT Facility
17
        even though (i) he had just taken back the TNT Facility pursuant to a fraudulent
18
        transfer and (ii) he has already received more than the purchase price from the
19
        Debtor, $2,378,412.75. Equity compels the imposition of a constructive trust upon
20
        the entire TNT Facility.
21

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 1            107. Wherefore, the Trustee is entitled to an Order requiring the

 2      Defendants to turn over the TNT Facility to the Trustee for the benefit of

 3      creditors.
                                 EIGHTH CLAIM FOR RELIEF
 4                                        Injunctive Relief
                              11 U.S.C. §§ 105(a) and RCW 19.40.071
 5

 6            108. Plaintiff incorporates herein by reference all preceding paragraphs

 7      asserted herein as if set forth fully herein.
 8            109. The estate will suffer irreparable injury if the relief is denied. Every

 9      one of the Debtor’s facilities is critical to the Trustee’s efforts to reorganize and

10      sell the Debtor as a going concern. Defendant Carlson’s taking of the TNT
11      Facility places the Trustee’s efforts at great risk to the detriment of the Debtor’s

12      creditors.

13            110. The Plaintiff will probably prevail on the merits of each of its claims
14      for relief asserted herein and/or there are serious questions going to the merits.

15            111. The balance of potential harm favors the Plaintiff.

16            112. The public interest favors granting relief.

17                                     CLAIM OBJECTIONS

18            The Trustee hereby includes the following Claims Objections in this

19      Complaint pursuant to Rule 3007(b) of the Federal Rules of Bankruptcy

20      Procedure:

21                               OBJECTION TO CLAIM NO. 318

22            113. The Trustee incorporates herein by reference all preceding paragraphs

23      asserted herein as if set forth fully herein.

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 1            114. The Trustee objects to Claim No. 318 on the ground that it is not

 2      supported by sufficient evidence and is subject to equitable subordination and

 3      mandatory subordination.

 4            115. Wherefore, the Trustee requests that Claim No. 318 be disallowed in
 5      its entirety.

 6                                OBJECTION TO CLAIM NO. 319

 7            116. Plaintiff incorporates herein by reference all preceding paragraphs
 8      asserted herein as if set forth fully herein.

 9            117. Plaintiff objects to Claim No. 319 on the ground that it is not

10      supported by sufficient evidence and is subject to equitable subordination and
11      mandatory subordination.

12                                OBJECTION TO CLAIM NO. 320

13            118. Plaintiff incorporates herein by reference all preceding paragraphs
14      asserted herein as if set forth fully herein.

15            119. Plaintiff objects to Claim No. 320 on the ground that it is not

16      supported by sufficient evidence and is subject to equitable subordination and

17      mandatory subordination.

18            120. Wherefore, the Trustee requests that Claim No. 320 be disallowed in

19      its entirety.

20                                  RESERVATION OF RIGHT

21            121. The Trustee does not waive and instead expressly reserves all rights to

22      amend all claims for relief and objections set forth herein, including without

23      limitation to (i) avoid in whole or in part the transfer of the $2,378,412.75 that the

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 1      Debtor transferred to Defendant Carlson in a series of payments on August 18,

 2      2017, August 21, 2017 and March 26, 2018 as intentional and/or constructive

 3      fraudulent transfers, (iii) assert additional claims of relief for, among things,

 4      violations of the securities laws, conversion, trespass, and fraud and (iv) object to
 5      any of the claims filed in this case by any of the Defendants on any additional or

 6      other basis than is set forth herein.

 7                                         CONCLUSION
 8              Wherefore, the Trustee prays for judgment against the Defendants and in

 9      favor of the Trustee, for monetary relief, injunctive relief, attorneys fees and costs,

10      as allowed by law, and for such other relief as the Court deems appropriate and
11      just.

12      Dated: April 22, 2019                      CKR LAW LLP

13                                                 /s/ Pamela M. Egan
                                                   Pamela M. Egan (WSBA No. 54736)
14
                                                   Attorneys for Mark D. Waldron, Chapter 11
15                                                 Trustee
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